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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                       Case No. 21-CR-292 (RCL)
      -v-
CHRISTOPHER WORRELL,
               Defendant.


                        MEMORANDUM IN SUPPORT OF
            DEFENDANT CHRISTOPHER WORRELL’S MOTION TO DISMISS
                       THE INDICTMENT AS DEFECTIVE




Dated: May 4, 2021                     Respectfully Submitted,

                                       PIERCE BAINBRIDGE P.C.



                                       John M. Pierce
                                       355 S. Grand Avenue, 44th Floor
                                       Los Angeles, CA 90071
                                       (213) 262-9333
                                       jpierce@piercebainbridge.com

                                       Robert L. Jenkins Jr.
                                       Brynum & Jenkins
                                       1010 Cameron Street, Ste. 123
                                       Alexandria, Va 22314
                                       Tel: (703) 309-0899
                                       rjenkins@bynumandjenkinslaw.com

                                       Attorneys for Defendant Christopher Worrell
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          Defendant, Christopher Worrell (Mr. Worrell), by and through counsel, pursuant to Rule

12(b)(ii),(iii), and (v), requests that this Court dismiss all the charges against Mr. Worrell

because they lack sufficient specificity. Mr. Worrell moves the Court to dismiss the indictment

as to Counts one, two, three, four, and six for failure to state an offense as pepper spray gel, as a

matter of law, is not a deadly or dangerous weapon. Finally, Mr. Worrell moves the Court to

dismiss at least two of Counts one, two, and five because they are multiplicitous, as well as two

of Counts three, four, and six as these Counts are likewise multiplicitous.

  I.      FACTUAL BACKGROUND
          Mr. Worrell was arrested in the Southern District of Florida after an arrest warrant was

issued in Washington, D.C., for his alleged conduct at the Capitol on January 6, 2021. According

to the special agent’s investigation, Mr. Worrell appeared in a montage of images in front of the

U.S. Capitol in a tactical vest and his apparent use of pepper spray towards an unknown target.

          The indictment alleges Mr. Worrell traveled to and potentially participated in the riot at the

U.S. Capitol on January 6, 2021. Mr. Worrell is charged with 18 U.S.C. §§ 1752(a)(1) and

(b)(1)(a); Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous

Weapon (Charge One), 18 U.S.C. §§ 1752(a)(2) and (b)(1)(A); Disorderly and Disruptive Conduct

in a Restricted Building or Grounds with a Deadly or Dangerous Weapon (Charge Two), 18 U.S.C.

§§ 1752(a)(4) and (b)(1)(A); Engaging in Physical Violence in a Restricted Building or Grounds

Using a Deadly or Dangerous Weapon (Charge Three); 40 U.S.C. § 5104(e)(2)(F); Act of Physical

violence in the Capitol Grounds or Buildings (Charge Four), 18 U.S.C. § 231(a)(3); Civil Disorder;

and 18 U.S.C. §§ 11(a)(1) and (b) (Charge Five); and Assaulting, Resisting or Impeding Certain

Officers Using a Dangerous Weapon (Charge Six).

          The indictment is specific to Mr. Worrell only to the extent that it includes the date, the

       location in barest terms (The District of Columbia), his name, and his alleged dangerous

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    weapon. The indictment does not include specific factual allegations about Mr. Worrell’s

    conduct as it relates to the charges, rather the indictment merely restates the language of the

    statute. With regard to Charges three, four, and six the indictment does not describe the violent

    conduct or use of the weapon that Mr. Worrell allegedly engaged used.

 II.   LEGAL STANDARD
       A criminal defendant may move to dismiss an indictment before trial based on a "defect in

the indictment," including for "lack of specificity" and "failure to state an offense." Fed. R. Crim.

P. 12(b)(3)(B)(iii), (v). "[A] pretrial motion to dismiss an indictment allows a district court to

review the sufficiency of the government's pleadings, but it is not a permissible vehicle for

addressing the sufficiency of the government's evidence." United States v. Mosquera-Murillo, 153

F. Supp. 3d 130, 154 (D.D.C. 2015) (citation and internal quotation marks omitted). "In ruling on

a motion to dismiss for failure to state an offense, a district court is limited to reviewing the face

of the indictment and, more specifically, the language used to charge the crimes." United States v.

Sunia, 643 F. Supp. 2d 51, 60 (D.D.C. 2009).

               [A]n indictment is sufficient if it, first, contains the elements of the
               offense charged and fairly informs a defendant of the charge
               against which he must defend, and, second, enables him to plead
               an acquittal or conviction in bar of future prosecutions for the same
               offense." Hamling v. United States, 418 U.S. 87, 117, 94 S. Ct.
               2887, 41 L. Ed. 2d 590 (1974). The notice requirement "is
               established in the Sixth Amendment, which provides that '[i]n all
               criminal prosecutions, the accused shall enjoy the right . . . to be
               informed of the nature and cause of the accusation[.]'" United
               States v. Hillie, 227 F. Supp. 3d 57, 69 (D.D.C. 2017) (quoting U.S.
               Const. Amend. VI). "A valid indictment also preserves the Fifth
               Amendment's protections against abusive criminal charging
               practices; specifically, its guarantees that a criminal defendant can
               only be prosecuted for offenses that a grand jury has actually
               passed up on, and that a defendant who is convicted of a crime so
               charged cannot be prosecuted again for that same offense.

               Id.


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       For an indictment to have sufficient specificity, “the indictment may use the language of

the statute, but that language must be supplemented with enough detail to apprise the accused of

the particular offense with which he is charged." Id. at 72. An indictment that is drawn in the

generic words of a statute and that fails entirely to describe in any meaningful way the alleged acts

of the defendant that constitute the offenses charged is insufficient to notify a defendant of the

nature of the accusations against him. Id. at 73.

       An indictment must be viewed as a whole and the allegations must be accepted as true in

determining if an offense has been properly alleged. United States v. Bowdin, 770 F. Supp. 2d.

142, 146 (D.D.C. 2011). The operative question is whether the allegations, if proven, would be

sufficient to permit a jury to find that the crimes charged were committed. Id.

       In regard to multiplicity, the law protects defendants against multiplicitous indictments to

avoid multiple sentences for a single offense and prevent prejudice which such overbearing

indictments may generate in the eyes of a jury. United States v. Phillips, 962 F. Supp. 200, 202

(1997). When an indictment charges multiple offenses arising from the same conduct it "may

falsely suggest to a jury that a defendant has committed not one but several crimes” and falsely

suggest the defendant must be guilty of at least some of them. Id. This prejudicial practice threatens

to pose significant threats to the proper functioning of the jury system. Id.

       An indictment is multiplicitous, and thereby defective, if a single offense is alleged in a

number of counts, unfairly increasing a defendant's exposure to criminal sanctions." United States

v. Brown, No. 07-cr-75, 2007 WL 2007513, at *6 (D.D.C. July 9, 2007).

III.   ARGUMENT
       The indictment against Mr. Worrell is defective for multiple reasons. See Indictment as to

Christopher Worrell. The indictment is entirely deficient in regard to specificity, lacking almost

any details specific to the allegations against Mr. Worrell apart from restating the language of the

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statute. Critically the indictment lacks specificity in the key area of describing Mr. Worrell’s

conduct that would satisfy the elements of the offenses charged, failing to give Mr. Worrell fair

notice. The indictment is also defective with regard to any enhancements for the use or carrying

of a deadly or dangerous weapon because as a matter of law, pepper spray gel is not a deadly or

dangerous weapon. Finally, the indictment is defective because it has mulitplicitous charges for

the same offense, and the Government must choose which charges to bring or else risk

unconstitutionally biasing the jury.

       For these reasons, when considering the four corners of the indictment, the face of the

indictment, and the language of the charges, the indictment is defective in violation of the Federal

Rules of Criminal Procedure Rule 7, and Mr. Worrell’s Fifth and Six Amendment rights.

Accordingly, this indictment therefor must be dismissed.

       A.      Mr. Worrell’s Indictment Charges Lack Specificity to Such a Degree as to
               Render the Indictment Impermissibly Vague
       Pretrial motions to dismiss for lack of specificity in the indictment are appropriate under

the Federal Rules of Criminal Procedure. Fed. R. Crim. P. 12(b)(3)(B)(iii). An indictment is

sufficient if it, contains the elements of the offense charged and fairly informs a defendant of the

charge against which he must defend, and, enables him to plead an acquittal or conviction in bar

of future prosecutions for the same offense." Hamling, 418 U.S. at 117. The indictment may use

the language of the statute, but must be supplemented with enough detail to apprise the accused of

the particular offense with which he is charged. Hillie, 227 F. Supp. 3d at 72. An indictment that

is drawn in the generic words of a statute and that fails entirely to describe in any meaningful way

the acts of the defendant that constitute the offenses charged is insufficient to notify a defendant

of the nature of the accusations against him. Id. at 73.




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        The indictment against Mr. Worrell fails to describe in any meaningful way the acts that

constitute the offense charged. See Indictment as to Christopher Worrell. The language in the

indictment, exactly mirrors the language of the statute but is not “supplemented with enough detail

to apprise the accused of the particular offense with which he is charged.” See id.; see also, Hillie,

227 F. Supp. 3d at 72. This lack of fair notice fails to meet the burden posed to the government

and without correction by the Court would deprive Mr. Worrell of fair notice of the charges

alleged.

        The indictment does not describe the “what, where, or how” of Mr. Worrell’s conduct that

led to the charges. See id. The indictment does not describe what restricted grounds Mr. Worrell

entered. Indictment as to Christopher Worrell (Count One). The indictment does not discuss what

disorderly or disruptive conduct Mr. Worrell engaged in, nor his intent to do so. Indictment as to

Christopher Worrell (Count Two). The indictment does not discuss who Mr. Worrell engaged in

an act of physical violence, nor the manner in which these events allegedly occurred. Indictment

as to Christopher Worrell (Count Three and Four). The indictment does not discuss how Mr.

Worrell allegedly committed or attempted to obstruct, impede, or interfere with a law enforcement

officer, nor does it describe or identify which Law enforcement officer, Mr. Worrell allegedly

committed this crime against. Indictment as to Christopher Worrell (Count Five). The indictment

does not discuss how Mr. Worrell allegedly forcibly assaulted, resisted, opposed, impeded,

intimidated, or interfered with an employee of the United States, nor does it describe which officer

or employee of the United States this charge refers to. Indictment as to Christopher Worrell (Count

Six).




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       The charges in the indictment lack any specificity with which Mr. Worrell could be aware

of his conduct which led to the charge and formulate a defense. The indictment is constitutionally

deficient due to its lack of specificity, and must be dismissed. See Hillie, 227 F. Supp. 3d at 71.

       B.      The Indictment Is Defective as Charges One, Two, Three, Four, and Six Fail
               to State an Offense as Pepper Spray Gel is Not a Dangerous Weapon Under
               Law.
       Counts One, two, three, four, and six should also be dismissed with regard to their

enhancement for the carrying or use of a deadly or dangerous weapon. As a matter of law, pepper

spray gel is not a dangerous weapon under the statute. See Fed. R. Crim. P. 12(b)(3)(B)(v).

       18 U.S.C. § 1752 contains no definition for deadly or dangerous weapon. See 18 U.S.C.

§ 1752. As such, the definition should come from the most commonly understood definition, which

appears in the Sentencing Guidelines. See U.S. Sentencing Guidelines Manual § 1B1.1 cmt. n.1(E)

(U.S. Sentencing Commission 2018); see also id § 2A2.2 cmt. N.1. The Government appears to

have conceded to this definition as the Government cited to cases using this exact same definition

in claiming that pepper spray is a dangerous weapon. (See Gov’t Supplemental Mem. in Opp'n to

Emer. Mot. for Recons. at 2).

       A dangerous weapon is defined as an object or weapon that must be likely to cause “serious

bodily injury” such as “extreme physical pain or the protracted impairment of a function of a

bodily member, organ, or mental facility; or requir[e] medical intervention such as surgery,

hospitalization, or physical rehabilitation.” United States v. Perez, 519 F. App'x 525, 528 (11th

Cir. 2013) (citing U.S.S.G. § 1B1.1, comment. (n.1(L)) (emphasis in original). Pepper spray does

not meet this statutory definition of a dangerous weapon.

       Finding pepper spray to be a dangerous weapon requires a case-specific factual showing

by the Government. Perez, 519 F. App'x at 529. The Eleventh Circuit held that the Government’s

reliance on the pepper spray’s label and marketing materials was insufficient to show the spray

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was a dangerous weapon. Id at 528. The Court rejected the Government’s reliance of the pepper

spray’s label holding “a label created by the manufacturer of a substance is not particularly reliable

evidence given its self-serving nature.” Perez, 519 F. App'x at 528 (citing United States v. Harris,

44 F.3d 1206, 1216 (3rd Cir. 1995) (concluding that promotional pamphlet provided an inadequate

basis for concluding that the pepper spray in question was a dangerous weapon)). In this case, the

Government relied on statements on the product website which make broad claims about the

product’s power. Just as in Perez the government has based their findings on self-serving

advertising material that fails to act as reliable evidence. See id. The Government has failed to

make any assertion within the indictment that the spray at issue meets the statutory definition of a

dangerous weapon. See Indictment as to Christopher Worrell. Without a case specific factual

showing the pepper gel at issue in this case cannot be considered a dangerous weapon and the

Government’s reliance on advertising material fails to meet the case specific factual showing

standard. Perez, 519 F. App'x at 528.

       The Eleventh Circuit further held that:
               Neither a brand name nor a warning label, alone or taken together,
               establishes that a weapon is a “dangerous weapon”… the warning
               on the canister's label does not establish that the contents of the
               canister are capable of inflicting a serious bodily injury. The fact
               that someone may have to wash an affected area for 15 minutes or
               seek medical attention does not establish that the spray could cause
               “extreme physical pain or the protracted impairment of a function of
               a bodily member, organ, or mental facility; or requir[e] medical
               intervention such as surgery, hospitalization, or physical
               rehabilitation.”
               Perez, 519 F. App'x at 528.” Id. (emphasis in original).

       The Eleventh Circuit identified pepper spray by its very nature is not designed to function

as a dangerous weapon in its typical use. The District of Columbia Court should follow the holding

of the Eleventh Circuit. Pepper spray is designed not to cause protracted impairment or require


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surgery, hospitalization, or physical rehabilitation. How Dangerous Is Pepper Spray?, National

Capital Poison Center, https://www.poison.org/articles/how-dangerous-is-pepper-spray (last

accessed Apr. 6, 2021. Pepper spray can indeed irritate the eyes, nose, or mouth but these

symptoms are usually mild and temporary, typically lasting minutes to hours. Id. Pepper spray

generally requires washing the affected area with water to alleviate the effects but does not

generally require surgery, hospitalization, or physical rehabilitation. Id. The effects of pepper spray

do not rise to the level of requiring medical intervention such as surgery, hospitalization, or

physical rehabilitation in their ordinary use and therefore are properly classified outside the

statutory definition of a “dangerous weapon.” Perez, 519 F. App'x at 528.

       The Government primarily relies on other circuits, such as the Sixth and Ninth Circuits,

which have concluded, based on the individualized facts of those cases, that pepper spray was a

dangerous weapon in those cases. See United States v. Neill, 166 F.3d 943, 949 (9th Cir. 1999)

(discussing the effects on those with an underlying condition); United States v. Melton, 233 F.

App’x 545, 547 (6th Cir. 2007) (unpublished) (“[B]ased on the severe and probable effects that

pepper spray has on the human body, the district court’s determination that pepper spray

constitutes a ‘dangerous weapon’ was not erroneous.”) However, Sixth and Ninth Circuit have not

adopted sweeping decisions designating pepper spray a “dangerous weapon” in all cases. See Neill,

166 F.3d at 949, Melton, 233 F. App’x at 547. Even if the Court agrees with the reasoning in the

Sixth and Ninth Circuit’s cases the Court should still reject the Government’s enhancements in

this indictment as the Government failed to make a specific factual allegation as to how pepper gel

in this case constitutes a dangerous weapon.

       The 6th Circuit’s holding in Neill was supported by “[e]vidence presented to the district

court demonstrat[ing] that pepper spray is ‘capable of inflicting death or serious bodily injury’ and



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therefore satisfies the requirements of a dangerous weapon as defined in § 2B3.1(b)(2)(D).” 166

F.3d 943, 949. Specifically, the use of pepper spray in that case was shown to cause extreme pain

based on the victim’s testimony. Id. The court also heard evidence that the victim suffered

protracted impairment of bodily functions or organs because the victim testified that she had

difficulty breathing for weeks. Id. at 950. In this case the Government has not offered any evidence

that the alleged victim suffered a protracted impairment of bodily function. Further, the

Government has failed to even produce a victim or any evidence that any individual was hit by the

pepper gel spray allegedly discharged by Mr. Worrell.

       Similarly, the Fifth Circuit found pepper spray to be a dangerous weapon only where the

victim complained of protracted effects of the pepper spray, including sustained blindness in one

eye requiring multiple follow-up visits to doctors. United States v. Douglas, 957 F.3d 602, 604

(5th Cir. 2020). Again, there is no victim identified in Mr. Worrell’s case and no allegation the

pepper gel caused any abnormal injuries other than potential irritation of the eyes that could be

tended to without medical personal.

       Pepper spray is undoubtedly painful, designed to incapacitate attackers temporarily.

However, it is not capable of, nor likely to, cause the kind of extreme pain or serious bodily injury

required to be classified as a deadly or dangerous weapon. Perez, 519 F. App'x at 528. The

Government has failed to offer evidence that the pepper spray could or did cause serious bodily

injury, aside from the labels and marketing of the brand of pepper spray Mr. Worrell is alleged to

have discharged. There is nothing in the indictment which indicates that the pepper spray can or

did cause extreme physical pain or protracted impairment of a bodily function or require medical

intervention such as surgery, hospitalization, or physical rehabilitation. Therefore, this Court




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should find that, as a matter of law, pepper spray is not a dangerous weapon and dismiss the counts

in the indictment which contain this enhancement.

         C.     The Indictment Is Defective Because There Are Multiplicitous Charges
                Aimed at Prejudicing Mr. Worrell Before the Jury
         The law guards against multiplicitous charges as bringing multiple charges for the same

action threaten to improperly bias the jury and can also implicate double jeopardy concerns. See

Phillips, 962 F. Supp. at 202. Mr. Worrell moves to dismiss the multiplicitous charges in the

indictment pursuant to Federal Rules of Criminal Procedure Rule 12(b)(3)(B)(ii). An indictment

is multiplicitous, and thereby defective, if a single offense is alleged in a number of counts, unfairly

increasing a defendant's exposure to criminal sanctions." Brown, No. 07-cr-75, 2007 WL 2007513,

at *6.

         In the present case, the indictment’s Counts one, two, and five all refer to the same offense

and are, therefore, multiplicitous. All of these charges seemingly refer to Mr. Worrell’s alleged

presence at the Capitol Grounds on January 6. As a result, the Government must now choose

between these three charges and select one to proceed with the prosecution or risk unfairly

prejudicing Mr. Worrell before the jury.

         Similarly, Counts three, four, and six all refer to the same alleged conduct. This appearance

of multiplicity could perhaps could result from the aforementioned lack of specificity, but

presently, it appears that Mr. Worrell is only alleged to have engaged in a single act of violence.

Three charges for the same single offense is multiplicitous and violative of Mr. Worrell’s rights.

         These multiplicitous charges make the indictment constitutionally defective, and thus

dismissal is warranted.




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IV.    CONCLUSION
       Viewing the indictment, considering all the facts alleged to be true, and considering the

document as a whole, the indictment is defective. The indictment lacks specificity throughout, fails

to state an offense with regard to the deadly or dangerous weapon enhancements, and has multiple

charges for the same offense. As a result of these defects, the indictment is constitutionally

deficient and dismissal by this Court is warranted.

Dated: May 4, 2021                            Respectfully Submitted,

                                              PIERCE BAINBRIDGE P.C.



                                              John M. Pierce
                                              355 S. Grand Avenue, 44th Floor
                                              Los Angeles, CA 90071
                                              (213) 262-9333
                                              jpierce@piercebainbridge.com

                                              Robert L. Jenkins Jr.
                                              Brynum & Jenkins
                                              1010 Cameron Street, Ste. 123
                                              Alexandria, Va 22314
                                              Tel: (703) 309-0899
                                              rjenkins@bynumandjenkinslaw.com




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                               CERTIFICATE OF SERVICE

               I hereby certify that, on May 4, 2021 that the foregoing document was filed

with the Court’s CM/ECF systemwhich will provide notice on all counsel deemed to have

consented to electronic service. All other counsel of record not deemed to have consented

to electronic service were served with a true and correct copy of the foregoing document

by mail on this date.



                                              /s/ John M. Pierce
                                             John M. Pierce




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